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Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 4 of 288 PAGEID #: 732
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 5 of 288 PAGEID #: 733
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 6 of 288 PAGEID #: 734
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 7 of 288 PAGEID #: 735
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 8 of 288 PAGEID #: 736
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 9 of 288 PAGEID #: 737
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 10 of 288 PAGEID #: 738
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 11 of 288 PAGEID #: 739
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 12 of 288 PAGEID #: 740
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 13 of 288 PAGEID #: 741
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 14 of 288 PAGEID #: 742
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 15 of 288 PAGEID #: 743
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 16 of 288 PAGEID #: 744
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 17 of 288 PAGEID #: 745
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 18 of 288 PAGEID #: 746
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 19 of 288 PAGEID #: 747
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 20 of 288 PAGEID #: 748
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 21 of 288 PAGEID #: 749
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 22 of 288 PAGEID #: 750
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 23 of 288 PAGEID #: 751
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 24 of 288 PAGEID #: 752
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 25 of 288 PAGEID #: 753
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 26 of 288 PAGEID #: 754
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 27 of 288 PAGEID #: 755
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 28 of 288 PAGEID #: 756
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 29 of 288 PAGEID #: 757
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 30 of 288 PAGEID #: 758
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 31 of 288 PAGEID #: 759
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 32 of 288 PAGEID #: 760
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 33 of 288 PAGEID #: 761
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 34 of 288 PAGEID #: 762
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 35 of 288 PAGEID #: 763
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 36 of 288 PAGEID #: 764
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 37 of 288 PAGEID #: 765
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 38 of 288 PAGEID #: 766
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 39 of 288 PAGEID #: 767
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 40 of 288 PAGEID #: 768
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 41 of 288 PAGEID #: 769
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 42 of 288 PAGEID #: 770
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 43 of 288 PAGEID #: 771
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 44 of 288 PAGEID #: 772
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 45 of 288 PAGEID #: 773
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 46 of 288 PAGEID #: 774
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 47 of 288 PAGEID #: 775
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 48 of 288 PAGEID #: 776
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 49 of 288 PAGEID #: 777
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 50 of 288 PAGEID #: 778
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 51 of 288 PAGEID #: 779
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 52 of 288 PAGEID #: 780
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 53 of 288 PAGEID #: 781
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 54 of 288 PAGEID #: 782
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 55 of 288 PAGEID #: 783
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 56 of 288 PAGEID #: 784
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 57 of 288 PAGEID #: 785
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 58 of 288 PAGEID #: 786
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 59 of 288 PAGEID #: 787
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 60 of 288 PAGEID #: 788
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 61 of 288 PAGEID #: 789
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 62 of 288 PAGEID #: 790
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 63 of 288 PAGEID #: 791
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 64 of 288 PAGEID #: 792
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 65 of 288 PAGEID #: 793
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 66 of 288 PAGEID #: 794
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 67 of 288 PAGEID #: 795
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 68 of 288 PAGEID #: 796
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 69 of 288 PAGEID #: 797
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 70 of 288 PAGEID #: 798
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 71 of 288 PAGEID #: 799
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 72 of 288 PAGEID #: 800
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 73 of 288 PAGEID #: 801
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 74 of 288 PAGEID #: 802
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 75 of 288 PAGEID #: 803
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 76 of 288 PAGEID #: 804
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 77 of 288 PAGEID #: 805
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 78 of 288 PAGEID #: 806
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 79 of 288 PAGEID #: 807
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 80 of 288 PAGEID #: 808
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 81 of 288 PAGEID #: 809
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 82 of 288 PAGEID #: 810
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 83 of 288 PAGEID #: 811
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 84 of 288 PAGEID #: 812
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 85 of 288 PAGEID #: 813
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 86 of 288 PAGEID #: 814
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 87 of 288 PAGEID #: 815
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 88 of 288 PAGEID #: 816
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 89 of 288 PAGEID #: 817
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 90 of 288 PAGEID #: 818
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 91 of 288 PAGEID #: 819
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 92 of 288 PAGEID #: 820
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 93 of 288 PAGEID #: 821
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 94 of 288 PAGEID #: 822
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 95 of 288 PAGEID #: 823
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 96 of 288 PAGEID #: 824
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 97 of 288 PAGEID #: 825
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 98 of 288 PAGEID #: 826
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Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 102 of 288 PAGEID #: 830
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 103 of 288 PAGEID #: 831
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 104 of 288 PAGEID #: 832
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 105 of 288 PAGEID #: 833
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 106 of 288 PAGEID #: 834
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 107 of 288 PAGEID #: 835
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 108 of 288 PAGEID #: 836
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 109 of 288 PAGEID #: 837
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 110 of 288 PAGEID #: 838
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 111 of 288 PAGEID #: 839
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 112 of 288 PAGEID #: 840
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 113 of 288 PAGEID #: 841
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 114 of 288 PAGEID #: 842
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 115 of 288 PAGEID #: 843
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 116 of 288 PAGEID #: 844
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 117 of 288 PAGEID #: 845
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 118 of 288 PAGEID #: 846
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 119 of 288 PAGEID #: 847
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 120 of 288 PAGEID #: 848
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 121 of 288 PAGEID #: 849
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 122 of 288 PAGEID #: 850
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 123 of 288 PAGEID #: 851
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 124 of 288 PAGEID #: 852
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 125 of 288 PAGEID #: 853
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 126 of 288 PAGEID #: 854
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 127 of 288 PAGEID #: 855
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 128 of 288 PAGEID #: 856
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 129 of 288 PAGEID #: 857
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 130 of 288 PAGEID #: 858
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 131 of 288 PAGEID #: 859
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 132 of 288 PAGEID #: 860
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 133 of 288 PAGEID #: 861
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 134 of 288 PAGEID #: 862
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 135 of 288 PAGEID #: 863
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 136 of 288 PAGEID #: 864
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 137 of 288 PAGEID #: 865
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 138 of 288 PAGEID #: 866
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 139 of 288 PAGEID #: 867
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 140 of 288 PAGEID #: 868
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 141 of 288 PAGEID #: 869
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 142 of 288 PAGEID #: 870
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 143 of 288 PAGEID #: 871
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 144 of 288 PAGEID #: 872
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 145 of 288 PAGEID #: 873
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 146 of 288 PAGEID #: 874
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 147 of 288 PAGEID #: 875
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 148 of 288 PAGEID #: 876
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 149 of 288 PAGEID #: 877
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 150 of 288 PAGEID #: 878
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 151 of 288 PAGEID #: 879
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 152 of 288 PAGEID #: 880
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 153 of 288 PAGEID #: 881
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 154 of 288 PAGEID #: 882
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 155 of 288 PAGEID #: 883
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 156 of 288 PAGEID #: 884
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 157 of 288 PAGEID #: 885
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 158 of 288 PAGEID #: 886
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 159 of 288 PAGEID #: 887
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 160 of 288 PAGEID #: 888
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 161 of 288 PAGEID #: 889
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 162 of 288 PAGEID #: 890
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 163 of 288 PAGEID #: 891
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Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 165 of 288 PAGEID #: 893
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Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 167 of 288 PAGEID #: 895
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 168 of 288 PAGEID #: 896
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 169 of 288 PAGEID #: 897
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 170 of 288 PAGEID #: 898
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 171 of 288 PAGEID #: 899
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 172 of 288 PAGEID #: 900
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 173 of 288 PAGEID #: 901
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 174 of 288 PAGEID #: 902
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 175 of 288 PAGEID #: 903
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 176 of 288 PAGEID #: 904
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 177 of 288 PAGEID #: 905
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 178 of 288 PAGEID #: 906
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 179 of 288 PAGEID #: 907
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 180 of 288 PAGEID #: 908
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 181 of 288 PAGEID #: 909
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 182 of 288 PAGEID #: 910
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 183 of 288 PAGEID #: 911
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 184 of 288 PAGEID #: 912
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 185 of 288 PAGEID #: 913
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 186 of 288 PAGEID #: 914
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 187 of 288 PAGEID #: 915
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 188 of 288 PAGEID #: 916
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 189 of 288 PAGEID #: 917
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 190 of 288 PAGEID #: 918
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 191 of 288 PAGEID #: 919
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 192 of 288 PAGEID #: 920
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 193 of 288 PAGEID #: 921
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 194 of 288 PAGEID #: 922
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 195 of 288 PAGEID #: 923
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 196 of 288 PAGEID #: 924
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 197 of 288 PAGEID #: 925
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 198 of 288 PAGEID #: 926
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 199 of 288 PAGEID #: 927
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 200 of 288 PAGEID #: 928
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 201 of 288 PAGEID #: 929
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 202 of 288 PAGEID #: 930
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 203 of 288 PAGEID #: 931
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 204 of 288 PAGEID #: 932
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 205 of 288 PAGEID #: 933
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 206 of 288 PAGEID #: 934
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 207 of 288 PAGEID #: 935
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 208 of 288 PAGEID #: 936
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 209 of 288 PAGEID #: 937
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 210 of 288 PAGEID #: 938
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 211 of 288 PAGEID #: 939
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 212 of 288 PAGEID #: 940
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 213 of 288 PAGEID #: 941
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 214 of 288 PAGEID #: 942
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Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 217 of 288 PAGEID #: 945
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 218 of 288 PAGEID #: 946
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 219 of 288 PAGEID #: 947
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 220 of 288 PAGEID #: 948
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 221 of 288 PAGEID #: 949
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 222 of 288 PAGEID #: 950
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 223 of 288 PAGEID #: 951
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 224 of 288 PAGEID #: 952
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 225 of 288 PAGEID #: 953
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 226 of 288 PAGEID #: 954
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 227 of 288 PAGEID #: 955
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 228 of 288 PAGEID #: 956
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 229 of 288 PAGEID #: 957
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 230 of 288 PAGEID #: 958
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 231 of 288 PAGEID #: 959
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 232 of 288 PAGEID #: 960
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Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 235 of 288 PAGEID #: 963
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Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 238 of 288 PAGEID #: 966
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 239 of 288 PAGEID #: 967
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 240 of 288 PAGEID #: 968
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 241 of 288 PAGEID #: 969
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 242 of 288 PAGEID #: 970
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 243 of 288 PAGEID #: 971
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 244 of 288 PAGEID #: 972
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 245 of 288 PAGEID #: 973
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 246 of 288 PAGEID #: 974
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 247 of 288 PAGEID #: 975
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 248 of 288 PAGEID #: 976
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 249 of 288 PAGEID #: 977
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 250 of 288 PAGEID #: 978
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 251 of 288 PAGEID #: 979
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 252 of 288 PAGEID #: 980
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 253 of 288 PAGEID #: 981
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 254 of 288 PAGEID #: 982
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 255 of 288 PAGEID #: 983
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 256 of 288 PAGEID #: 984
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 257 of 288 PAGEID #: 985
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 258 of 288 PAGEID #: 986
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 259 of 288 PAGEID #: 987
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 260 of 288 PAGEID #: 988
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 261 of 288 PAGEID #: 989
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 262 of 288 PAGEID #: 990
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Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 265 of 288 PAGEID #: 993
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 266 of 288 PAGEID #: 994
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 267 of 288 PAGEID #: 995
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 268 of 288 PAGEID #: 996
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 269 of 288 PAGEID #: 997
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 270 of 288 PAGEID #: 998
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 271 of 288 PAGEID #: 999
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 272 of 288 PAGEID #: 1000
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 273 of 288 PAGEID #: 1001
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 274 of 288 PAGEID #: 1002
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Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 277 of 288 PAGEID #: 1005
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 278 of 288 PAGEID #: 1006
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 279 of 288 PAGEID #: 1007
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 280 of 288 PAGEID #: 1008
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 281 of 288 PAGEID #: 1009
Case: 2:16-cv-00739-ALM-KAJ Doc #: 26-3 Filed: 05/05/17 Page: 282 of 288 PAGEID #: 1010
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